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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS



 MODERNATX, INC. and MODERNA US, INC.,

                               Plaintiffs,

                       v.                               Case No. 1:22-cv-11378-RGS

 PFIZER INC., BIONTECH SE, BIONTECH
 MANUFACTURING GMBH, and BIONTECH US
 INC.,

                               Defendants.


                                  JOINT STATUS REPORT

       Pursuant to ECF 240, Plaintiffs ModernaTX, Inc. and Moderna US, Inc. and Defendants

BioNTech SE, BioNTech Manufacturing GmbH, BioNTech US Inc., and Pfizer Inc. hereby submit

the following status report regarding the IPR proceedings related to this action: BioNTech SE and

Pfizer Inc. v. ModernaTX, Inc., IPR2023-001358 and IPR2023-01359.

       Both IPRs are on the same schedule, which is presented in a chart format below.

           Event                                         Date
           Patent Owner’s Response Due                   May 31, 2024
           Petitioner’s Reply Due                        August 30, 2024
           Patent Owner’s Sur-Reply Due                  October 16, 2024
           Request for Oral Argument                     October 23, 2024
           Motion to Exclude Evidence                    November 13, 2024
           Opposition to Motion to Exclude Evidence November 20, 2024
           Request for Pre-Hearing Conference            November 20, 2024




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           Reply to Opposition to Motion to Exclude November 27, 2024
           Oral Argument                                  December 10, 2024
           Final Written Decision                         On or before March 6, 2025



       Pursuant to ECF 240, the parties will submit their next joint status report on or before

April 29, 2025.




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Dated: January 28, 2025

Respectfully submitted,

DEFENDANT AND COUNTERCLAIM-              DEFENDANTS AND COUNTERCLAIM-
PLAINTIFF PFIZER INC.                    PLAINTIFFS BIONTECH SE,
                                         BIONTECH MANUFACTURING
                                         GMBH, AND BIONTECH US INC.

By their Counsel,                        By their Counsel,

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                                         Manufacturing GmbH, and BioNTech US,
* Admitted pro hac vice                  Inc.




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PLAINTIFFS AND COUNTER-CLAIM
DEFENDANTS MODERNATX, INC.
AND MODERNA US, INC.

By their Counsel,

/s/ Kevin S. Prussia

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